

Matter of Attorneys In Violation of Judiciary Law § 468-a &amp; 22 NYCRR 118.1 (Chambers) (2024 NY Slip Op 06509)





Matter of Attorneys In Violation of Judiciary Law § 468-a &amp; 22 NYCRR 118.1 (Chambers)


2024 NY Slip Op 06509


Decided on December 20, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 20, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CURRAN, J.P., BANNISTER, MONTOUR, GREENWOOD, AND HANNAH, JJ. (Filed Dec. 16, 2024.)


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[*1]MATTER OF ATTORNEYS IN VIOLATION OF JUDICIARY LAW § 468-a AND 22 NYCRR 118.1. ATTORNEY GRIEVANCE COMMITTEES FOR THE FOURTH JUDICIAL DEPARTMENT, PETITIONER.
andAARON G. CHAMBERS, RESPONDENT.



MEMORANDUM AND ORDER
Order entered terminating suspension and granting application for reinstatement to the practice of law.








